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 7
                                UNITED STATES DISTRICT COURT
 8
                               WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 9

10
        STATE OF WASHINGTON et al.,                          CASE NO. 2:25-cv-00244-LK
11
                               Plaintiffs,                   MEMORANDUM OPINION
12              v.
13      DONALD J. TRUMP et al.,
14                             Defendants.

15

16          The United States Constitution endows the three branches of the federal government with

17   separate but overlapping powers. Article III of the Constitution assigns to the judicial branch the

18   responsibility and power to adjudicate “Cases” and “Controversies”—that is, concrete disputes

19   with consequences for the parties involved. The Framers “envisioned that the final ‘interpretation

20   of the laws’ would be ‘the proper and peculiar province of the courts,’” independent of influence

21   from the political branches. Loper Bright Enterprises v. Raimondo, 603 U.S. 369, 385 (2024)

22   (quoting The Federalist No. 78, pp. 522, 525 (J. Cooke ed. 1961) (A. Hamilton)). And since its

23   earliest days, the Supreme Court has embraced this vision, holding that “[i]t is emphatically the

24   province and duty of the judicial department to say what the law is.” Marbury v. Madison, 1 Cranch


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 1   137, 177 (1803). This includes the power to reject the President’s interpretation of the Constitution,

 2   see id. at 172–73; otherwise, “judicial judgment would not be independent at all.” Loper Bright,

 3   603 U.S. at 386.

 4          The United States Constitution exclusively grants the power of the purse to Congress, not

 5   the President, and “the President does not have unilateral authority to refuse to spend the funds”

 6   Congress appropriates. City & Cnty. of San Francisco v. Trump, 897 F.3d 1225, 1231–32 (9th Cir.

 7   2018) (quoting In re Aiken County, 725 F.3d 255, 261 n.1 (D.C. Cir. 2013)). Indeed, it is well

 8   established that the President’s power is at its “lowest ebb” when he contravenes the express will

 9   of Congress, “for what is at stake is the equilibrium established by our constitutional system.”

10   Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 637–638 (1952) (Jackson, J., concurring).

11          Here, Congress appropriated money for research and education grants to medical

12   institutions across the country. These appropriations fund, among other things, research relating to

13   Alzheimer’s disease, cancer, diabetes, autism and other neurodevelopmental disorders, asthma,

14   cardiovascular disease, opioid use disorder, pediatric oncology and blood disorders, and kidney

15   disease. Instead of “tak[ing] Care that [such] Laws be faithfully executed,” U.S. Const. art. II, § 3,

16   President Trump issued an Executive Order making the funding contingent on whether grant

17   recipients provide certain medical care to individuals 18 and under. This oversteps the President’s

18   authority under the separation of powers.

19          To the extent the Executive Order purports to expand the scope of criminalized conduct in

20   another federal statute—18 U.S.C. § 116—this too trespasses beyond the President’s powers under

21   the Constitution.

22          These are not the only ways the Executive Order is unconstitutional. The Fifth

23   Amendment’s Equal Protection Clause prohibits the federal government from treating people

24   differently based on sex or transgender status unless such differential treatment (1) serves


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 1   important governmental objectives and (2) is substantially related to the achievement of those

 2   objectives. Doe v. Horne, 115 F.4th 1083, 1102 (9th Cir. 2024); Hecox v. Little, 104 F.4th 1061,

 3   1079–80 (9th Cir. 2024); Karnoski v. Trump, 926 F.3d 1180, 1201 (9th Cir. 2019).

 4           Although the Executive Order’s stated purpose is to protect “children” from regret

 5   associated with adults “chang[ing] a child’s sex through a series of irreversible medical

 6   interventions,” the Order is not limited to children, or to irreversible treatments, nor does it target

 7   any similar medical interventions performed on cisgender youth. And critically, the Executive

 8   Order prevents transgender youth from obtaining necessary medical treatments that are completely

 9   unrelated to their gender identity. For example, a cisgender teen could obtain puberty blockers

10   from a federally funded medical provider as a component of cancer treatment, but a transgender

11   teen with the same cancer care plan could not.

12           When it comes to surgery, the Executive Order sweeps far more broadly than its stated

13   purpose of protecting “children” from medical treatment decisions made by adults. For example,

14   the Order forbids federal funding to providers who offer surgeries “to alter or remove an

15   individual’s sexual organs to minimize or destroy their natural biological functions.” This would

16   prevent such a provider not only from performing gender-affirming surgery on an 18-year-old

17   transgender individual, but also from performing, for example, a vasectomy on a married cisgender

18   18-year-old man who desires the surgery because he has Huntington’s disease and does not want

19   to pass it to his children.

20           Because the sex-based distinctions drawn by the Executive Order are not substantially

21   related to achieving the Order’s purpose, the Order does not survive constitutional scrutiny.

22           Plaintiffs seek to halt enforcement of Sections 4 and 8(a) of the Executive Order as

23   unconstitutional. The Court granted their motion on February 14, 2025. Dkt. No. 158. This opinion

24   further explains the Court’s reasoning.


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 1               I.   FACTUAL BACKGROUND AND PROCEDURAL HISTORY

 2          On January 28, 2025, President Trump issued Executive Order 14,187, titled “Protecting

 3   Children from Chemical and Surgical Mutilation” (the “Executive Order” or “Order”). Dkt. No.

 4   17-1. This Order is one of many new initiatives by the Trump Administration aimed at transgender

 5   individuals, including executive orders halting the standard processing of their passport

 6   applications; ordering the transfer of incarcerated transgender women to men’s prisons; initiating

 7   a ban on military service by transgender individuals; ending federal recognition of gender identities

 8   other than male and female; and barring female transgender student athletes from competing with

 9   or against cisgender women and girls. Dkt. Nos. 17-2, 17-3, 17-15.

10          The Executive Order at issue in this case defines a number of treatments for gender

11   dysphoria as “chemical and surgical mutilation.” Dkt. No. 17-1 at 2. The treatments included under

12   this umbrella term (together, the “Listed Services”) are as follows:

13          •   “[T]he use of puberty blockers, including GnRH agonists and other interventions, to

14              delay the onset or progression of normally timed puberty in an individual who does not

15              identify as his or her sex”;

16          •   “[T]he use of sex hormones, such as androgen blockers, estrogen, progesterone, or

17              testosterone, to align an individual’s physical appearance with an identity that differs

18              from his or her sex”;

19          •   “[S]urgical procedures that attempt to transform an individual’s physical appearance to

20              align with an identity that differs from his or her sex”; and

21          •   “[S]urgical procedures . . . that attempt to alter or remove an individual’s sexual organs

22              to minimize or destroy their natural biological functions.” Id.

23   As pertinent here, Section 4 of the Executive Order “defund[s]” the Listed Services by ordering

24   the head of every relevant federal agency to “immediately . . . ensure that [medical] institutions


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 1   receiving Federal research or education grants end” the Listed Services for individuals ages 18 and

 2   younger. Id. at 3. Section 8(a) of the Order, in turn, directs the Attorney General to prioritize

 3   “enforcement of protections against female genital mutilation” under 18 U.S.C. § 116. Id.

 4           On February 7, 2025, the States of Washington, Oregon, and Minnesota (together,

 5   “Plaintiff States”) and Physicians 1, 2, and 3 (together, “Plaintiff Physicians”) filed a lawsuit on

 6   their own behalf and/or on behalf of the patients whom they treat. They allege that Section 4 of

 7   the Executive Order violates the Constitution’s separation of powers and Fifth Amendment equal

 8   protection guarantees, and that Section 8(a) of the Order violates the Tenth Amendment. Dkt. No.

 9   1 at 32–34. On the same day they filed their Complaint, Plaintiffs filed a motion for a temporary

10   restraining order seeking to enjoin all Defendants except President Trump from enforcing or

11   implementing Sections 4 and 8(a) of the Order. Dkt. No. 11; Dkt. No. 148 at 14 n.11. Defendants

12   oppose the motion. Dkt. No. 136. 1

13                                             II. DISCUSSION

14   A.      Standing

15           Article III’s “case or controversy” requirement obligates federal courts to determine, as a

16   preliminary matter, whether plaintiffs have standing to bring suit. Lance v. Coffman, 549 U.S. 437,

17   439 (2007). A plaintiff establishes standing by showing: (1) that it suffered an injury in fact,

18   meaning a concrete and particularized harm that is actual or imminent, rather than hypothetical;

19   (2) a causal connection between the injury and the challenged conduct that is fairly traceable to

20   the defendant’s actions; and (3) a non-speculative likelihood that the injury will be redressed by a

21   decision in the plaintiff’s favor. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992). “The

22   second and third standing requirements—causation and redressability—are often ‘flip sides of the

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       Amicus briefs were submitted by the State of Alabama and the Service Employees International Union. Dkt. No.
24   133; Dkt. No. 140 at 6–17.



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 1   same coin.’” Food & Drug Admin. v. All. for Hippocratic Med., 602 U.S. 367, 380–81 (2024)

 2   (quoting Sprint Communications Co. v. APCC Servs., Inc., 554 U.S. 269, 288 (2008)). “If a

 3   defendant’s action causes an injury, enjoining the action or awarding damages for the action will

 4   typically redress that injury.” Id. at 381. When a claimed injury has not yet occurred, a plaintiff

 5   must show that the potential harm is sufficiently imminent to qualify as an injury in fact. See Susan

 6   B. Anthony List v. Driehaus, 573 U.S. 149, 159 (2014). In this Circuit, a threatened “loss of funds

 7   promised under federal law satisfies Article III’s standing requirement.” City and Cnty. of San

 8   Francisco, 897 F.3d at 1236.

 9          Plaintiff States argue that they have standing because (1) the Executive Order expressly

10   and immediately conditions federal research and education grants on denying gender-affirming

11   care to individuals under age 19, risking the loss of “hundreds of millions of dollars, if not more,

12   awarded to Plaintiff States’ medical institutions”; (2) the Executive Order infringes their

13   “sovereign authority to regulate the practice of medicine free of intrusion by the President”; and

14   (3) the Defendants have caused these injuries such that an injunction and declaratory relief “will

15   prevent Defendants from enforcing the Order.” Dkt. No. 11 at 8–11. Plaintiff Physicians assert that

16   they have standing because (1) the Executive Order prevents them “from delivering appropriate

17   and necessary [gender-affirming] care under threat of criminal prosecution, forcing them to violate

18   their ethical obligations to their patients”; (2) their patients are “injured by the Order’s

19   discriminatory treatment and coercion designed to stop gender-affirming care”; and (3) the

20   Defendants have caused these injuries such that an injunction and declaratory relief will redress

21   the harm. Id. at 9–11. Defendants respond that Plaintiffs’ claim is unripe because the agencies

22   subject to the Executive Order’s directive “have not taken action to revoke, or threaten to revoke,

23   any funding at issue in the [Executive Order].” Dkt. 136 at 8. Defendants also argue that Plaintiffs’

24   claim regarding Section 8(a) is speculative because the Executive Order “does not require any


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 1   particular interpretation of the criminal statute or any prosecutions, but only directs ‘review’ and

 2   prioritization.” Dkt. No. 136 at 25.

 3            The Court finds that Plaintiffs have standing. Plaintiffs have shown that Sections 4 and 8(a)

 4   of the Executive Order threaten to cause them imminent concrete injury in a personal and

 5   individual way. Spokeo, Inc. v. Robins, 578 U.S. 330, 339 (2016). Section 4 of the Executive Order

 6   directs “[t]he head of each executive department or agency (agency) that provides research or

 7   education grants to medical institutions, including medical schools and hospitals,” to “immediately

 8   take appropriate steps to ensure that institutions receiving Federal research or education grants

 9   end” the Listed Services. Dkt. No. 17-1 at 3. Meanwhile, Section 8(a) purports to expand the scope

10   of conduct criminalized in 18 U.S.C. § 116 to include the Listed Services, and to direct the

11   Attorney General to prioritize prosecution of such conduct. Id. Plaintiff States (via their medical

12   institutions) and Plaintiff Physicians provide—and intend to continue to provide—the Listed

13   Services when they believe such Services are medically appropriate, including to certain patients

14   ages 18 and under. 2 Therefore, Plaintiffs have shown that they intend to engage in a course of

15   conduct in conflict with the Executive Order. See City & Cnty. of San Francisco, 897 F.3d at 1237.

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       See, e.g., Dkt. No. 13 at 5 (Physician 1, a physician at the Department of Pediatrics at the University of Washington,
17   averring that, “[i]f both the patient and the parent or caregiver with medical decision-making authority express a desire
     to proceed with gender-affirming medical care, and it is medically indicated and consistent with the standards of care,
     then we proceed with treatment,” which can include puberty-delaying medications and gender-affirming hormones);
18   Dkt. No. 14 at 3 (Physician 2, a physician at a Seattle hospital, stating that, “where medically indicated . . . I prescribe
     medications to treat gender dysphoria,” including “puberty-delaying medications and hormone replacement therapy”);
19   Dkt. No. 15 at 4 (Physician 3, a pediatric endocrinologist at a Seattle hospital, stating that “I prescribe medications to
     treat gender dysphoria, which may include puberty-blocking medications and hormone replacement therapy,” after
20   obtaining consent from patients’ guardians); Dkt. No. 16 at 5 (UW Medicine “provides gender-affirming medical care
     coordinated across a range of clinicians in the UW Medicine system to its adult patients,” including but not limited to
     surgical care, “[w]hen medically indicated and consistent with practice guidelines and standards of care,” and the UW
21   School of Medicine Department of Pediatrics faculty physicians also “provide primary and specialty pediatric care,
     including gender-affirming medical care, to minor patients when medically indicated and necessary to serve the
22   patients’ health needs”); Dkt. No. 79 at 3 (University of Minnesota medical institutions provide gender-affirming care,
     including puberty-suppressing medications, when medically appropriate); Dkt. No. 97 at 2 (Oregon State University
     provides gender-affirming care to students through its Student Health Services, including hormone therapy, mental
23   health support, and surgical referrals); Dkt. No. 107 at 8 (Oregon Health and Science University provides gender-
     affirming care, including hormone therapy and puberty suppression medications, “when appropriate, after additional
24   comprehensive mental health involvement[.]”).



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 1          The fact that the loss of funds may have not yet materialized or that enforcement of the

 2   Order has not yet occurred does not mean that there is no imminent injury or that Plaintiffs lack

 3   standing on this ground. Id. In any event, and contrary to Defendants’ claims that no threats of

 4   grant revocation have been made, Dkt. No. 136 at 4, on January 31, 2025, the Health Resources &

 5   Services Administration (“HRSA”) sent an email to “HRSA Award Recipients” (including

 6   personnel at public medical institutions in Plaintiff States) advising that, “[e]ffective immediately,

 7   HRSA grant funds may not be used for activities that do not align with Executive Orders (E.O.)

 8   entitled . . . Protecting Children from Chemical and Surgical Mutilation[] and Defending Women

 9   from Gender Ideology Extremism and Restoring Biological Truth to the Federal Government

10   (Defending Women),” and that “[a]ny vestige, remnant, or re-named piece of any programs in

11   conflict with these E.O.s are terminated in whole or in part.” Dkt. No. 16 at 7; Dkt. No. 16-1 at 2;

12   see also Dkt. No. 13 at 10; Dkt. No. 107 at 13. The email further warned that “[y]ou may not incur

13   any additional costs that support any programs, personnel, or activities in conflict with these

14   E.O.s.” Dkt. No. 16 at 7; Dkt. No. 16-1 at 2. Although the email was rescinded without explanation

15   roughly a week later, Dkt. No. 16-2 at 2, this concrete step taken by a federal agency in response

16   to the Order demonstrates the imminency of enforcement of the Executive Order. PFLAG, Inc. v.

17   Trump, No. 1:25-cv-00337-BAH, Dkt. No. 62 at 15 (D. Md. Feb. 14, 2025) (“[I]t is clear that the

18   rescission of the HRSA notice does not render the issue moot.”). If that weren’t enough, the White

19   House issued a press release on February 3, 2025 declaring that the Executive Order was “having

20   its intended effect” as demonstrated by specific examples of “[h]ospitals around the country . . .

21   [already] taking action to downsize or eliminate their so-called ‘gender-affirming care’ programs.”

22   Dkt. No. 17-9 at 2; see also City & Cnty. of San Francisco, 897 F.3d at 1236 (injury was

23   sufficiently imminent where the Trump Administration “consistently evinced its intent to enforce

24   the Executive Order, and . . . made clear that the [plaintiffs] are likely targets”); PFLAG, No. 1:25-


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 1   cv-00337-BAH, Dkt. No. 62 at 14 (the February 3 press release illustrates that “the executive is

 2   committed to restricting federal funding based on the denial of gender affirming care”).

 3          The record shows that enforcement of Section 4 of the Executive Order will cause one of

 4   two concrete harms to Plaintiffs: either (1) be forced to halt the Listed Services, even in

 5   circumstances in which Plaintiffs consider such Services to be medically necessary, or (2) lose

 6   federal grant money. As Physician 1 describes it, “Forcing me to stop providing care that my

 7   training, experience, and medical judgment tell me is in the best interest of my patient would force

 8   me to violate the oath I pledged to uphold,” but upholding that oath would threaten Physician 1’s

 9   livelihood because the “grant funding that supports a significant portion of [my] work . . . will be

10   stripped away” under the Executive Order. Dkt. No. 13 at 10.

11          Much the same is true for Plaintiff States on an institutional level. According to the Chief

12   Executive Officer of UW Medicine and the Dean of the UW School of Medicine, ceasing to

13   provide gender-affirming care, including the Listed Services, “would undermine the UW School

14   of Medicine’s mission and its ethical duties to its patients and to the community that it serves.”

15   Dkt. No. 15 at 6–7. At the same time, the UW School of Medicine currently has direct research

16   grants from numerous federal agencies, including the Department of Agriculture, Department of

17   Commerce, Department of Defense, Department of Education, Department of Energy, Department

18   of Health and Human Services, Department of Veterans Affairs, National Aeronautics & Space

19   Administration, National Science Foundation, and Office of the Director of National Intelligence.

20   Dkt. No. 16 at 3. Because “[t]hese medical research grants support operational and capital expenses

21   including researchers, labs, and equipment,” the school’s ability “to achieve its educational,

22   research, and health care mission would be significantly impaired if it were suddenly stripped of

23   federal research or education grants under EO 14187.” Id. at 6. Moreover, key research

24   endeavors—including on Alzheimer’s disease, cancer, diabetes, liver disease, cardiovascular


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 1   disease, autism and other neurodevelopmental disorders, asthma, opioid use disorder, kidney

 2   disease, sleep apnea, Down syndrome, and organ transplantation—“would be left unfinished,

 3   putting future medical treatments and breakthroughs at risk of not being developed or discovered.”

 4   Id.

 5          Oregon State University faces a similar Sophie’s choice. According to its Executive

 6   Director, if the school were prevented from providing “medically necessary health care” to

 7   transgender students, the students would suffer “increased anxiety, depression, and likelihood of

 8   suicide or self-harm, and . . . severe illness or life-threatening conditions,” and the University’s

 9   “ability to fulfill its educational mission” would be impeded. Dkt. No. 97 at 3–4. But like the UW

10   School of Medicine, Oregon State University relies on substantial federal grants to support its

11   work. Dkt. No. 92 at 3–4; Dkt. No. 97 at 3. The Vice President for Research and Innovation at

12   Oregon State avers that “[i]f the federal government were to stop providing research and education

13   grants to Oregon State University, the impacts would be devastating to its operations and disrupt

14   critical research in areas such as integrated health and biotechnology, robotics, agriculture, food

15   and beverages, semiconductors and artificial intelligence.” Dkt. No. 92 at 4; see also Dkt. No. 97

16   at 3 (Executive Director of Student Health Services attesting to same).

17          Oregon Health and Science University, which “ranks as the top Oregon institution to

18   receive National Institutes of Health (NIH) funding,” would experience similarly dire

19   consequences from an immediate federal funding cut: “4,221 grants that are currently underway”

20   would be impacted, disrupting “critical research in areas such as rural health, fetal maternal

21   medicine, cancer, cardiovascular health, Alzheimer’s disease, neurology, behavioral health, and

22   many other areas critical to human health,” and resulting in the “immediate closure of at least 500

23   research programs” and “the loss of approximately 2000 research staff positions.” Dkt. No. 107 at

24   3, 5 (declaration of Executive Vice President and Interim Chief Executive Officer of Oregon


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 1   Health and Science University Health). While grants are critical to Oregon Health and Science

 2   University, the school also highly values its transgender health programs. It offers curricula in

 3   behavioral health, hormone therapy, and surgical care for gender diverse individuals, and is one of

 4   only a few international institutions to offer a medical student elective in transgender health and a

 5   surgical fellowship exclusively focused on gender-affirming surgeries. Id. at 10. “Should gender-

 6   affirming care be disallowed at OHSU, all forward workforce training in the various contributing

 7   professions and subspecialties related to this care would also cease,” and patients unable to access

 8   the care that the school considers to be medically appropriate and/or necessary would likely suffer

 9   “increase[d] mental health distress” and negative impacts to their “social functioning, emotional

10   wellness, and psychological stability.” Id. at 9–10. 3

11            For the foregoing reasons, Plaintiffs have demonstrated that enforcement of Section 4 of

12   the Executive Order will either (1) result in “a likely ‘loss of funds promised under federal law,’”

13   City & Cnty. of San Francisco, 897 F.3d at 1236 (quoting Organized Vill. of Kake v. U.S. Dep't of

14   Agric., 795 F.3d 956, 965 (9th Cir. 2015)), or (2) force Plaintiffs to cease “providing medical

15   services they would otherwise provide,” Isaacson v. Mayes, 84 F.4th 1089, 1096–97 (9th Cir.

16   2023) (noting that Ninth Circuit precedent “make[s] clear that an Article III injury in fact can arise

17   when plaintiffs are simply prevented from conducting normal business activities”). See also City

18   & Cnty. of San Francisco, 897 F.3d at 1236 (Plaintiffs established standing by “demonstrat[ing]

19   that, if their interpretation of the Executive Order is correct, they will be forced to either change

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       See also Dkt. No. 79 at 3 (University of Minnesota co-medical director of comprehensive gender care stating that
21   “[i]t is very important that we offer gender affirming medical care when it is determined the patient is eligible and it
     is medically necessary, in order to prevent permanent physical changes that would be damaging to their health and to
     support positive physical and mental health outcomes”); Dkt. No. 94 at 3–5 (Assistant Commissioner for the
22   Minnesota Department of Human Services averring that “[t]he Executive Order threatens medically-necessary health
     care for Minnesotans, which our [Medical Assistance] and MinnesotaCare programs are charged with providing for
23   our members”; the Medical Assistance and MinnesotaCare programs are funded by federal dollars); Dkt. No. 98 at 6
     (assistant professor at the University of Minnesota attesting that “[n]ot providing gender-affirming health care is not
24   a valid medical practice” and that, “as a medical provider, I know denying a person this care will cause serious harm
     to my patients. This order asks me to violate my oath as a physician.”).


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 1   their policies or suffer serious consequences.”). Plaintiff Physicians have also demonstrated that

 2   enforcement of Section 8(a)—to the extent it purports to amend 18 U.S.C. § 116 to encompass the

 3   Listed Services—poses a credible and substantial threat of prosecution to providers of such

 4   Services. Peace Ranch, LLC v. Bonta, 93 F.4th 482, 490 (9th Cir. 2024); see also infra Section

 5   II.B.1.c. Enjoining the enforcement of Sections 4 and 8(a) would remedy this harm. Food & Drug

 6   Admin., 602 U.S. at 380–81. 4

 7           Plaintiff Physicians also have standing to assert their patients’ rights. Plaintiffs are

 8   permitted to “assert third-party rights in cases where the enforcement of the challenged restriction

 9   against the litigant would result indirectly in the violation of third parties’ rights.” June Med. Servs.

10   L.L.C. v. Russo, 591 U.S. 299, 318 (2020) (cleaned up), abrogated on other grounds by Dobbs v.

11   Jackson Women’s Health Org., 597 U.S. 215 (2022). Here, as in June Medical, the Plaintiff

12   Physicians are providers challenging government action that purports to regulate their conduct

13   where the “threatened imposition of governmental sanctions for noncompliance” (1) “eliminates

14   any risk that their claims are abstract or hypothetical,” (2) assures the Court “that the plaintiffs

15   have every incentive to resist efforts at restricting their operations by acting as advocates of the

16   rights of third parties who seek access to their market or function,” and (3) makes Plaintiff

17   Physicians “far better positioned than their patients to address the burdens of compliance.” Id. at

18   319 (internal quotation marks omitted). “They are, in other words, ‘the least awkward’ and most

19   ‘obvious’ claimants here.” Id. at 320 (quoting Craig v. Boren, 429 U.S. 190, 197 (1976)). In

20   addition, Plaintiff Physicians have suffered an injury in fact and have close relationships with their

21   patients. Powers v. Ohio, 499 U.S. 400, 411 (1991). Specifically, over months and years of

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       Because the Executive Order directs immediate action and threatens Plaintiffs with serious penalties for
23   noncompliance, and because Plaintiffs’ claims primarily advance legal questions that require little factual
     development, this case is prudentially ripe. Planned Parenthood Great Nw., Hawaii, Alaska, Indiana, Kentucky v.
24   Labrador, 122 F.4th 825, 840 (9th Cir. 2024).



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 1   treatment, Plaintiff Physicians develop a close and personal relationship with their patients

 2   experiencing gender dysphoria. See, e.g., Dkt. No. 13 at 7; Dkt. No. 14 at 7; Dkt. No. 15 at 5.

 3   Furthermore, due to the sensitive nature of the subject matter, fear of retaliation from the federal

 4   government, and lack of capacity and/or financial resources, Plaintiff Physicians’ clients are

 5   hindered from protecting their own interests. Powers, 499 U.S. at 411; see, e.g., Dkt. No. 21 at 4;

 6   Dkt. No. 22 at 4; Dkt. No. 29 at 2, 5–7; Dkt. No. 36 at 2; Dkt. No. 37 at 8; Dkt. No. 45 at 2, 5; Dkt.

 7   No. 49 at 2; Dkt. No. 52 at 2, 4; Dkt. No. 54 at 2, 5; Dkt. No. 60 at 5; Dkt. No. 65 at 2, 5; Dkt. No.

 8   67 at 4; Dkt. No. 68 at 5; Dkt. No. 69 at 2; Dkt. No. 70 at 5; Dkt. No. 72 at 2. As such, Plaintiff

 9   Physicians may plead their patients’ injuries as well as their own.

10          Finally, and contrary to Defendants’ arguments, Dkt. No. 136 at 9, it is well established

11   that plaintiffs may seek equitable relief against federal officials who exceed the scope of their

12   authority or act unconstitutionally. See West v. Standard Oil Co., 278 U.S. 200, 210 (1929); Noble

13   v. Union River Logging Railroad, 147 U.S. 165, 171–72 (1893).

14   B.     Temporary Restraining Order

15          Federal Rule of Civil Procedure 65 empowers the court to issue a temporary restraining

16   order (“TRO”). Fed. R. Civ. P. 65(b). Like a preliminary injunction, a TRO is “an extraordinary

17   remedy never awarded as of right.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008);

18   see also Washington v. Trump, 847 F.3d 1151, 1159 n.3 (9th Cir. 2017) (the standards applicable

19   to TROs and preliminary injunctions are “substantially identical”). The Court will not

20   “mechanically” grant an injunction for every violation of law. Weinberger v. Romero-Barcelo, 456

21   U.S. 305, 313 (1982). Instead, plaintiffs seeking a TRO must establish that (1) they are “likely to

22   succeed on the merits,” (2) they are “likely to suffer irreparable harm in the absence of preliminary

23   relief,” (3) “the balance of equities tips in [their] favor,” and (4) “an injunction is in the public

24   interest.” Winter, 555 U.S. at 20. The mere “possibility” of irreparable harm is insufficient; instead,


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 1   the moving party must “demonstrate that irreparable injury is likely in the absence of an

 2   injunction.” Id. at 22.

 3           For the reasons provided below, the Court finds that Plaintiffs have carried their burden.

 4           1. Plaintiffs Have Demonstrated That They Are Likely to Succeed on the Merits

 5               (a) Plaintiffs’ Separation of Powers Claim is Likely to Succeed

 6           Section 4 of the Executive Order imposes a condition on the receipt of federal funds by the

 7   Plaintiff States’ medical institutions, effective immediately: “[I]nstitutions receiving Federal

 8   research or education grants [must] end the” Listed Services. Dkt. No. 17-1 at 3. Plaintiffs argue

 9   that “[b]y attaching conditions to federal funding that were . . . unauthorized by Congress,” Section

10   4 “usurps Congress’s spending and legislative power.” Dkt. No. 11 at 19.

11           “The United States Constitution exclusively grants the power of the purse to Congress, not

12   the President.” City & Cnty. of San Francisco, 897 F.3d at 1231 (citing U.S. Const. art. I, § 9, cl.

13   7 (Appropriations Clause); U.S. Const. art. I, § 8, cl. 1 (Spending Clause)). The Constitution

14   provides “a single, finely wrought and exhaustively considered, procedure” through which “the

15   legislative power of the Federal government [may] be exercised”: namely, through majority votes

16   of both chambers of Congress and approval by the President. I.N.S. v. Chadha, 462 U.S. 919, 951

17   (1983); U.S. Const. art. I § 7. Nothing in the Constitution authorizes the President to unilaterally

18   enact, amend, or repeal parts of duly enacted statutes. Clinton v. City of New York, 524 U.S. 417,

19   438–39 (1998). Indeed, he must instead “take Care that th[os]e Laws be faithfully executed.” U.S.

20   Const. art. II, § 3. That duty “refutes the idea that [the President] is to be a lawmaker.” Youngstown,

21   343 U.S. at 587.

22           Importantly, Congress’s spending power includes the power to “attach conditions on the

23   receipt of federal funds[.]” South Dakota v. Dole, 483 U.S. 203, 206–07 (1987). And “[b]ecause

24   Congress’s legislative power is inextricable from its spending power, the President’s duty to


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 1   enforce the laws necessarily extends to appropriations.” City & Cnty. of San Francisco, 897 F.3d

 2   at 1234. His failure to do so “may be an abdication of the President’s constitutional role.” Id. (citing

 3   2 U.S.C. §§ 681–688 for the proposition that “Congress has affirmatively and authoritatively

 4   spoken” with respect to the President’s duty to execute appropriations laws). 5

 5           Here, the record indicates that none of the funds received by the Plaintiff States’ medical

 6   institutions have a congressionally authorized condition requiring them to refrain from the

 7   provision of gender-affirming care. Dkt. No. 11 at 18–19; Dkt. No. 16 at 8; Dkt. No. 92 at 4; Dkt.

 8   No. 94 at 4–5; Dkt. No. 97 at 4; Dkt. No. 116 at 6. And Defendants have not shown that Congress

 9   has delegated authority to the President to condition federal research grants on compliance with

10   his policy agenda. See PFLAG, No. 1:25-cv-00337-BAH, Dkt. No. 62 at 126 (Executive Order

11   14,187 does not “identif[y] a statute authorizing the executive branch to amend or terminate federal

12   grants”). The President’s power is thus “at its lowest ebb.” City & Cnty. of San Francisco, 897

13   F.3d at 1234 (quoting Youngstown, 343 U.S. at 637 (Jackson, J., concurring)). Despite this,

14   President Trump’s Executive Order purports to do something not even Congress is permitted to

15   do: “surprise[] states with post acceptance . . . conditions” on federal funds, and “impose conditions

16   on federal grants that are unrelated to the federal interest in particular national projects or

17   programs.” City of Los Angeles v. Barr, 929 F.3d 1163, 1175 (9th Cir. 2019) (cleaned up).

18           The Executive Order thus amounts to an end-run around the separation of powers. “Not

19   only has the Administration claimed for itself Congress’s exclusive spending power, it has also

20   attempted to coopt Congress’s power to legislate.” City & Cnty. of San Francisco, 897 F.3d at

21   1234. To hold that the President has “the power to switch the Constitution on or off at will” would

22
     5
        See also Memorandum Opinion on Presidential Authority to Impound Funds Appropriated for Assistance to
23   Federally Impacted Schools, Op. O.L.C. 1, 309 (Dec. 1, 1969) (“With respect to the suggestion that the President has
     a constitutional power to decline to spend appropriated funds, we must conclude that existence of such a broad power
24   is supported by neither reason nor precedent.”).



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 1   “permit a striking anomaly in our tripartite system of government.” Boumediene v. Bush, 553 U.S.

 2   723, 765 (2008). But “[o]ur basic charter cannot be contracted away like this.” Id. As in City and

 3   County of San Francisco, President Trump “is without authority to thwart congressional will by

 4   canceling appropriations passed by Congress” or to “decline to follow a statutory mandate or

 5   prohibition simply because of policy objections.” 897 F.3d at 1232 (quoting In re Aiken Cnty., 725

 6   F.3d at 261 n.1). Plaintiffs’ argument that Section 4 of the Executive Order violates the separation

 7   of powers is likely to succeed on the merits.

 8              (b) Plaintiffs’ Fifth Amendment Equal Protection Claim is Likely to Succeed

 9          Even if Section 4 of the Executive Order did not violate the separation of powers (it does),

10   Plaintiffs have shown a likelihood of success on the merits regarding their claim that Section 4

11   violates the Equal Protection Clause of the Fifth Amendment.

12          When the federal government employs sex-based line-drawing, it withstands constitutional

13   scrutiny only where the sex-based classifications (1) serve important governmental objectives and

14   (2) are substantially related to the achievement of those objectives. Craig, 429 U.S. at 197. Under

15   such heightened scrutiny, “a party seeking to uphold government action based on sex must

16   establish an ‘exceedingly persuasive justification’ for the classification.” United States v. Virginia,

17   518 U.S. 515, 524 (1996) (quoting Mississippi Univ. for Women v. Hogan, 458 U.S. 718, 724

18   (1982)). Moreover, the justification provided must be the true purpose underlying the policy or

19   regulation, not merely one hypothesized or devised in order to survive judicial scrutiny. See id. at

20   535–36.

21          Before the Court addresses the nature of the classifications in the Executive Order, it first

22   reviews key terminology. “‘Gender identity’ is ‘the term used to describe a person’s sense of being

23   male, female, neither, or some combination of both.’” Hecox, 104 F.4th at 1068 (quoting Joshua

24   D. Safer & Vin Tangpricha, Care of Transgender Persons, 381 N. Eng. J. Med. 2451, 2451


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 1   (2019)). “A person’s ‘sex’ is typically assigned at birth based on an infant’s external genitalia,

 2   though ‘external genitalia’ do not always align with other sex-related characteristics, which include

 3   ‘internal reproductive organs, gender identity, chromosomes, and secondary sex characteristics.’”

 4   Id. 6 “A ‘transgender’ individual’s gender identity does not correspond to their sex assigned at birth,

 5   while a ‘cisgender’ individual’s gender identity corresponds with the sex assigned to them at

 6   birth.” Id. at 1068–69. “Some individuals are nonbinary, meaning they identify with or express a

 7   gender identity that is neither entirely male nor entirely female.” Horne, 115 F.4th at 1092. In

 8   addition, around two percent of people are born “intersex,” which is “an umbrella term for people

 9   born with unique variations in certain physiological characteristics associated with sex, such as

10   chromosomes, genitals, internal organs like testes or ovaries, secondary sex characteristics, or

11   hormone production or response.” Hecox, 104 F.4th at 1069 (cleaned up). Transgender individuals

12   often experience “gender dysphoria,” which is defined by the American Psychiatric Association’s

13   Diagnostic and Statistical Manual of Mental Disorders as a condition in which individuals

14   experience “a marked incongruence between one’s experienced/expressed gender and assigned

15   gender, lasting at least 6 months,” that is “associated with clinically significant distress or

16   impairment in social, occupational, or other important areas of functioning.” Dkt. No. 18 at 14

17   (quoting Am. Psychiatric Ass’n, Diagnostic and Statistical Manual of Mental Disorders 512–13

18   (5th ed., text rev. 2022)).

19           Here, the Executive Order facially discriminates on the basis of transgender status. For

20   example, federally funded medical institutions can provide the first Listed Service, “puberty

21   blockers . . . to delay the onset or progression of normally timed puberty,” to cisgender individuals,

22   but not to an individual 18 or younger “who does not identify as his or her sex.” Dkt. No. 17-1 at

23
     6
      Another recent Executive Order issued by the Trump Administration defines “sex” differently, as the Court discusses
24   below.



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 1   2. Thus, a cisgender teen who needs puberty blockers in the course of cancer treatment 7 could

 2   receive them from federally funded institutions, but a transgender teen who needs puberty blockers

 3   due to the same diagnosis—and not to align with the teen’s gender identity—could not. 8 Federally

 4   funded institutions likewise are barred from providing the second and third Listed Services, sex

 5   hormones and surgical procedures, only if those Services are provided to “align” the appearance

 6   of an individual 18 or younger “with an identity that differs from his or her sex.” Id.

 7            The first, second, and third Listed Services also facially discriminate on the basis of sex.

 8   Executive Order 14,187 does not define “sex,” but the nearly contemporaneously enacted

 9   Executive Order 14,168 does. Specifically, “sex” is “an individual’s immutable biological

10   classification as either male or female.” Dkt. No. 17-2 at 2. ‘‘Female’’ means “a person belonging,

11   at conception, to the sex that produces the large reproductive cell” while “male’’ means “a person

12   belonging, at conception, to the sex that produces the small reproductive cell.” Id. Applying these

13   definitions here, it is clear that in determining whether a particular treatment involves “an

14   individual who does not identify as his or her sex,” Dkt. No. 17-1 at 2, a provider must first

15   determine the sex of the individual to be “male” or “female.” And in determining whether a

16   particular treatment “align[s] an individual’s physical appearance with an identity that differs from

17   his or her sex,” id., the provider must determine not only the sex of the individual but also whether

18

19

20   7
       The Court notes that Gonadotrophin-releasing hormone (“GnRH”) agonists, which are included as “puberty
     blockers” in the Executive Order, Dkt. No. 17-1 at 2, are sometimes used to treat prostate cancer. Specifically, because
21   “[p]rostate cancer is hormone-sensitive and testosterone promotes growth of the cancer,” one method of treating it
     “uses a . . . GnRH[] agonist, which binds to receptors in the pituitary gland,” eventually “reduc[ing] testosterone to
     the medical castration level.” Ferring Pharms. Inc. v. Fresenius Kabi USA, LLC, 645 F. Supp. 3d 335, 344 (D. Del.
22   2022); see also Doe v. Ladapo, 737 F. Supp. 3d 1240, 1258 (N.D. Fla. 2024) (“GnRH agonists are routinely used to
     treat patients with central precocious puberty . . . as well as, in some circumstances, endometriosis and prostate
23   cancer.”); Dekker v. Weida, 679 F. Supp. 3d 1271, 1285 (N.D. Fla. 2023) (same).
     8
      Defendants could not offer an alternative interpretation of the Order’s text when asked about it at the hearing. Dkt.
24   No. 160 at 24–25.



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 1   any resulting change in physical appearance would conform with stereotypical physical attributes

 2   of the patient’s biological sex. 9

 3            Because the Executive Order makes classifications based on sex and “on its face treats

 4   transgender persons differently than other persons,” it constitutes sex discrimination; the Court

 5   must therefore apply heightened scrutiny. Hecox, 104 F.4th at 1079 (quoting Karnoski, 926 F.3d

 6   at 1201); see also Horne, 115 F.4th at 1102 (if a law “discriminates based on transgender status,

 7   either purposefully or on its face, heightened scrutiny applies”). 10

 8            While the Executive Order need not be so narrowly tailored to the precise governmental

 9   purpose here as would be required under strict scrutiny, see Horne, 115 F.4th at 1109, there must

10   nevertheless be a substantial relationship between the means (that is, classification on the basis of

11   transgender status and sex) and the ends. Plaintiffs argue that the Executive Order “appears to

12   serve no interest at all save to communicate official, presidentially directed animus against

13   transgender and gender-diverse people, their medical providers, and their families.” Dkt. No. 1 at

14   32. Defendants disagree, asserting that the Executive Order “is substantially related to the

15   important governmental purpose of safeguarding children’s physical and mental health.” Dkt. No.

16   136 at 16.

17            Even assuming without deciding that the Executive Order’s stated purpose (i.e., protecting

18   children from regret associated with adults “chang[ing] a child’s sex through a series of irreversible

19   medical interventions”) constitutes an important government interest, there is no substantial

20
     9
      Defendants could not offer an alternative interpretation of the Order’s text when asked about it at the hearing. Dkt.
21   No. 160 at 27–29.
     10
       Defendants concede that application of heightened scrutiny to classifications on the basis of transgender status is a
22   foregone conclusion in the Ninth Circuit. Dkt. No. 136 at 17 (“The government recognizes that the Ninth Circuit has
     held that ‘heightened scrutiny applies to laws that discriminate based on transgender status’” (quoting Horne, 115
     F.4th at 1102)); id. at 18 (“The government recognizes that the Ninth Circuit has . . . held” that “a classification based
23   on transgender status is necessarily a sex classification” (citing Hecox, 104 F.4th at 1080)). They nevertheless argue
     that “the Ninth Circuit’s conclusion is incorrect and should be overruled,” id. at 17—something this Court is without
24   power to do. In keeping with Ninth Circuit precedent, the Court applies heightened scrutiny.



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 1   relationship between this purported goal and Section 4’s blunderbuss approach to achieving it.

 2   Despite purporting to protect “children” generally, the Order is underinclusive in that it does not

 3   encompass any similar medical treatments for cisgender youth (for example, breast augmentation

 4   surgery in cisgender females), even where those medical treatments pose the same or similar

 5   risks. 11 See Poe by & through Poe v. Labrador, 709 F. Supp. 3d 1169, 1193 (D. Idaho 2023)

 6   (finding the government’s asserted objective “pretextual” because it “allows the same treatments

 7   for cisgender minors that are deemed unsafe and thus banned for transgender minors”; “rather than

 8   targeting the treatments themselves, [the law] allows children to have these treatments—but only

 9   so long as they are used for any reason other than as gender-affirming medical care”); Brandt v.

10   Rutledge, 551 F. Supp. 3d 882, 891 (E.D. Ark. 2021) (“Defendants’ rationale that the Act protects

11   children from experimental treatment and the long-term, irreversible effects of the treatment, is

12   counterintuitive to the fact that it allows the same treatment for cisgender minors as long as the

13   desired results conform with the stereotype of their biological sex.”), aff’d sub nom. Brandt by &

14   through Brandt v. Rutledge, 47 F.4th 661 (8th Cir. 2022).

15            The Order is overinclusive as well. Despite professing to protect “impressionable

16   children,” it is not limited to minors and instead includes 18 year olds. Dkt. No. 17-1 at 2. In all

17   Plaintiff States as well as the vast majority of other states, 18 is the legal age of majority. See, e.g.,

18   Minn. Stat. § 645.451 Subds. 3, 6; Or. Rev. Stat. § 109.510; Wash. Rev. Code § 26.28.015(5). At

19   that age, individuals are generally entitled to make their own medical decisions. See, e.g., Minn.

20   Stat. § 645.451 Subds. 3, 6 (defining “adult” and “legal age” as “18 years of age or older”); Or.

21

22
     11
        In their briefing and at the hearing, Defendants did not offer anything to contest Plaintiffs’ evidence that the same
     or similar treatments for cisgender children can be irreversible. Dkt. No. 160 at 21–22; see generally Dkt. No. 136;
23   see also, e.g., Dkt. No. 112 at 9–10 (breast augmentation surgery for adolescent cisgender females “has significant
     risks involved, including elevated risk of breast implant-associated breast cancer, and guarantees additional surgeries
24   during the patient’s lifetime”).



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 1   Rev. Stat. § 109.510 (Generally, “in this state any person shall be deemed to have arrived at

 2   majority at the age of 18 years, and thereafter shall: (1) Have control of the person’s own actions

 3   and business; and (2) Have all the rights and be subject to all the liabilities of a citizen of full

 4   age.”); Wash. Rev. Code § 26.28.015(5) (Generally, “all persons shall be deemed and taken to be

 5   of full age . . . at the age of eighteen years” to “make decisions in regard to their own body . . . to

 6   the full extent allowed to any other adult person including but not limited to consent to surgical

 7   operations[.]”). But the Order does not permit 18-year-old adults the freedom to obtain the Listed

 8   Services from federally funded medical institutions, departing from its purpose to protect

 9   “impressionable children” from the decisions of “adults.” Dkt. No. 17-1 at 2. Nor is its overbroad

10   application to transgender adults the only collateral damage of this sort. The Executive Order also

11   prohibits federal funding to providers that offer surgeries “to alter or remove an individual’s sexual

12   organs to minimize or destroy their natural biological functions,” regardless of the individual’s

13   gender identity. Id. This would prevent a federally funded provider from, for instance, providing

14   a vasectomy to a married cisgender 18-year-old man who desires this surgery because he has

15   Huntington’s disease and does not want to pass it to his children. 12

16            Furthermore, and importantly, the Executive Order promises serious harm to children even

17   outside the realm of gender care. As discussed above, a cisgender teen who needs puberty blockers

18   in the course of cancer treatment could receive them from federally funded institutions, but a

19   transgender teen who needs puberty blockers for the same diagnosis—and not to align with the

20   teen’s gender identity—could not.

21            Finally, some of the Listed Services are neither permanent nor irreversible, once again

22   demonstrating that the Order’s sex-based classifications are insufficiently tailored to its purpose.

23
     12
        Defendants could not offer an alternative interpretation of the Order’s text when asked about it at the hearing. Dkt.
24   No. 160 at 25–26.



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 1   For example, “[c]hildren with central precocious puberty are routinely treated with GnRH analogs

 2   and have typical fertility in adulthood.” Dkt. No. 18 at 24. 13 As such, the Executive Order prohibits

 3   youth with gender dysphoria from accessing medical services even if those services are not in

 4   conflict with the Order’s stated goal of preventing irreversible medical treatments.

 5            For all of the above reasons, the Court finds it likely that Plaintiffs will succeed on the

 6   merits in showing that Section 4 of the Executive Order violates the Fifth Amendment’s Equal

 7   Protection Clause.

 8                (c) Plaintiffs’ Tenth Amendment Claim is Likely to Succeed

 9            Section 8(a) directs the Attorney General to “review Department of Justice enforcement of

10   section 116 of title 18, United States Code, and prioritize enforcement of protections against

11   female genital mutilation.” Dkt. No. 17-1 at 3. Plaintiffs argue that Section 8(a) trespasses beyond

12   the President’s constitutional authority by criminalizing the Listed Services and thereby usurping

13   the Plaintiff States’ reserved powers to regulate the practice of medicine under the Tenth

14   Amendment. Dkt. No. 11 at 20. Defendants respond that “Plaintiffs’ claim is speculative and

15   misread[s] the E[xecutive] O[rder].” Dkt. No. 136 at 25.

16            Section 116 makes it a crime to “perform[], attempt[] to perform, or conspire[] to perform

17   female genital mutilation on another person who has not attained the age of 18 years”; to consent,

18   as the “parent, guardian, or caretaker of a person who has not attained the age of 18 years” to

19   female genital mutilation; or to “transport[] a person who has not attained the age of 18 years for

20   the purpose of the performance of female genital mutilation on such person.” 18 U.S.C. § 116(a).

21   Defendants dismiss Plaintiffs’ concerns that they will be prosecuted under Section 116 for the

22   following reasons:

23
     13
        In their briefing and when asked at the hearing, Defendants did not offer anything to counter Plaintiffs’ evidence
24   that not all of the Listed Services are irreversible. Dkt. No. 160 at 19–20; see generally Dkt. No. 136.



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 1          •   Section 116 “criminalizes only ‘procedure[s]’ that ‘involve[] partial or total removal

 2              of, or other injury to, the external female genitalia,’ such as ‘a clitoridectomy,’ ‘the

 3              partial or total removal . . . of the labia minora or the labia majora,’ or ‘pricking,

 4              incising, scraping, or cauterizing the genital area.’” Dkt. No. 136 at 25–26 (citing 18

 5              U.S.C. § 116(e)).

 6          •   Section 116 applies only to female genital mutilation of individuals under 18 years old,

 7              and Plaintiffs “acknowledge that ‘non-surgical options . . . are generally the only

 8              treatments minors can receive’ and they are the only treatments the physician Plaintiffs

 9              provide.” Id. at 26 (citing Dkt. No. 11 at 21; Dkt. No. 13 at 5; Dkt. No. 14 at 3, 9; Dkt.

10              No. 15 at 4).

11          •   Section 116 unequivocally exempts from criminal prosecution any “surgical operation

12              . . . necessary to the health of the person on whom it is performed . . . by a person

13              licensed in the place of its performance as a medical practitioner.” 18 U.S.C. §

14              116(b)(1); see also Dkt. No. 136 at 26.

15          •   To obtain a conviction under Section 116, the government must prove that the charged

16              conduct has a sufficient nexus to interstate or foreign commerce. Dkt. No. 136 at 5–6,

17              22–23; see also 18 U.S.C. § 116(d).

18          But Plaintiffs’ challenge is not to Section 116; rather, it is to the Executive Order’s

19   purported expansion of that statute. Dkt. No. 148 at 10. Assuming that the conduct proscribed by

20   Section 116 and “chemical and surgical mutilation” are truly apples and oranges, as Defendants

21   suggest but will not concede, Dkt. No. 160 at 18, why does an Executive Order governing apples

22   contain a directive concerning oranges? The text of the Order suggests a clear intent to equate the

23   two. Section 1 states that the United States “will rigorously enforce all laws that prohibit or limit”

24   the transition of a child from one sex to another. Dkt. No. 17-1 at 2. And the only law mentioned


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 1   in the “Directives to the Department of Justice” in the Order is 18 U.S.C. § 116. Id. at 3–4. Thus,

 2   a fair reading of the Order is that it purports to expand Section 116 to include the medical

 3   treatments described as “chemical and surgical mutilation” in Section 2(c) of the Executive

 4   Order—and thereby places providers offering the Listed Services within the auspices of the

 5   Department of Justice’s prosecutorial powers. 14

 6            The President’s specific authority with respect to Section 116 is the authority to enforce

 7   the law drafted by Congress within the “express or implied” parameters outlined by Congress.

 8   Youngstown, 343 U.S. at 635 (Jackson, J., concurring). As discussed above, the President has no

 9   power to unilaterally amend statutes. Here, Congress has not acted to criminalize the Listed

10   Services. Indeed, it has no power to do so to the extent the Listed Services have no nexus to

11   interstate commerce. Bond v. United States, 572 U.S. 844, 854 (2014) (“A criminal act committed

12   wholly within a State cannot be made an offence against the United States, unless it ha[s] some

13   relation to the execution of a power of Congress, or to some matter within the jurisdiction of the

14   United States.” (cleaned up)). Instead, the Plaintiff States’ legislatures have the exclusive power

15   under the Tenth Amendment to criminalize acts committed within those states that lack a federal

16   nexus. See id.; see also Gonzales v. Oregon, 546 U.S. 243, 270 (2006) (“[T]he structure and

17   limitations of federalism . . . allow the States great latitude under their police powers to legislate

18   as to the protection of the lives, limbs, health, comfort, and quiet of all persons.” (cleaned up)).

19   Plaintiff States have not passed any laws criminalizing the Listed Services. See, e.g., Wash. Rev.

20
     14
        To satisfy the injury-in-fact requirement when a claimed injury—such as criminal prosecution—has not yet
21   occurred, a plaintiff must show that “(1) [the plaintiff] ha[s] alleged ‘an intention to engage in a course of conduct
     arguably affected with a constitutional interest;’ (2) but the conduct is ‘proscribed by [the law at issue];’ and (3) ‘there
22   exists a credible threat of prosecution thereunder.’” Isaacson, 84 F.4th at 1098 (quoting Susan B. Anthony List, 573
     U.S. at 159). Nowhere in their briefing or at oral argument did Defendants explicitly disclaim any intent to prosecute
     physicians providing the Listed Services under Section 116. Dkt. No. 160 at 18; see generally Dkt. No. 136. Their
23   refusal to disavow enforcement, along with the Order’s apparent intent to expand the reach of Section 116, establish
     that Plaintiff Physicians have a reasonable fear of prosecution. See Peace Ranch, LLC v. Bonta, 93 F.4th 482, 489–90
24   (9th Cir. 2024); LSO, Ltd. v. Stroh, 205 F.3d 1146, 1155 (9th Cir. 2000).



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 1   Code §§ 18.130.450, 74.09.675; Wash. Rev. Code ch. 7.115; Dkt. No. 103 at 2–3; Dkt. No. 104 at

 2   2–3. To the contrary, the State of Washington has passed a law making clear that the provision of

 3   or participation in any gender-affirming treatment consistent with the standard of care in

 4   Washington by a license holder does not constitute unprofessional conduct subject to discipline.

 5   Wash. Rev. Code § 18.130.450.

 6          To the extent that Section 8(a) purports to expand 18 U.S.C. § 116 to encompass Listed

 7   Services lacking any tie to interstate commerce, it oversteps the President’s authority and invades

 8   an arena of lawmaking reserved to the states in violation of the Tenth Amendment.

 9          2. The Savings Clause Does Not Save the Executive Order

10          Defendants effectively argue that the Executive Order is at worst a sheep in wolf’s clothing

11   because any illegal directives are neutralized by its savings clause. Dkt. No. 136 at 12–13. That

12   clause states that “[n]othing in this order shall be construed to impair or otherwise affect . . . the

13   authority granted by law to an executive department or agency” and that “[t]his order shall be

14   implemented consistent with applicable law.” Dkt. No. 17-1 at 4. As Plaintiffs point out, the Ninth

15   Circuit rejected nearly identical arguments in City & County of San Francisco v. Trump.

16          There, the court addressed constitutional challenges to an executive order directing agency

17   heads, “in their discretion and to the extent consistent with law,” to ensure that “sanctuary

18   jurisdictions” that did not comply with 8 U.S.C. § 1373 were “not eligible to receive Federal

19   grants.” 897 F.3d at 1232–33. As in this case, defendants there argued that the Executive Order

20   was “all bluster and no bite” because the savings clause ensured the government’s actions would

21   be “consistent with law.” Id. at 1238–39. But the Ninth Circuit held that because savings clauses

22   are to be read in their context, they “cannot be given effect when the Court . . . would [need to]

23   override clear and specific language” to rescue the constitutionality of a measure, and “[t]he

24   Executive Order’s savings clause does not and cannot override its meaning.” Id. at 1238–40. So


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 1   too here. The Executive Order commands “immediate[]” action from agency heads, Dkt. No. 17-

 2   1 at 3—action which, in the case of HRSA, has already materialized, Dkt. No. 16-1 at 2. Although

 3   the email was rescinded without explanation roughly a week later, Dkt. No. 16-2 at 2, this federal

 4   agency action in response to the Order emphatically demonstrates that “this wolf comes as a wolf.”

 5   Morrison v. Olson, 487 U.S. 654, 699 (1988) (Scalia, J., dissenting). “Because the Executive Order

 6   unambiguously commands action, here there is more than a mere possibility that some agency

 7   might make a legally suspect decision.” City & Cnty. of San Francisco, 897 F.3d at 1240 (internal

 8   quotation marks omitted). The savings clause cannot salvage the clear meaning of the Executive

 9   Order. PFLAG, No. 1:25-cv-00337-BAH, Dkt. No. 62 at 30 (“Where, as here, the plain text and

10   stated purpose of the Executive Orders evince a clear intent to unlawfully restrict federal funding

11   without Congressional authorization, the mere inclusion of the phrase ‘consistent with applicable

12   law’ cannot insulate these Executive Orders from review.”).

13          3. Plaintiffs Have Shown That They are Likely to be Irreparably Harmed

14          Plaintiffs allege that they and Plaintiff Physicians’ patients will face irreparable harm if

15   Sections 4 and 8(a) of the Order are implemented. Dkt. No. 11 at 22–26. In response, Defendants

16   merely recycle the same ripeness argument the Court rejected above, averring that harm is merely

17   “speculative” because the Executive Order “has not been applied to any specific funding or

18   grants.” Dkt. No. 136 at 27.

19          Defendants’ argument is disingenuous at best. It ignores the Executive Order’s directive

20   for agencies to take immediate action on the Order, Dkt. No. 17-1 at 3, the overt step taken by

21   HRSA to implement the Order, Dkt. No. 16-1 at 2, and the White House’s Press Release declaring

22   that the Order was “already having its intended effect,” Dkt. No. 17-9 at 2. As the Court discussed

23   above, Plaintiffs have shown that the Executive Order threatens immediate and irreparable injuries.

24   These include, but are not limited to, the constitutional rights violations outlined above, Melendres


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 1   v. Arpaio, 695 F.3d 990, 1002 (9th Cir. 2012), the loss of hundreds of millions of dollars in federal

 2   funding (as well as its devastating consequences for all manner of medical research and treatment),

 3   the threat of criminal prosecution under the false guise of the female genital mutilation statute, and

 4   the serious harms caused to transgender youth by depriving them of gender-affirming care. With

 5   respect to the latter, as Physician 1 attests, discontinuing puberty-delaying medications or gender-

 6   affirming hormones can result in “permanent puberty changes that d[o] not align with [an

 7   individual’s] gender identity,” which “will likely require surgery in the future to reverse”—

 8   ultimately increasing the number of medical procedures an individual will have to undergo. Dkt.

 9   No. 14 at 8–9. Physician 2 adds that discontinuing such gender-affirming care can cause puberty

10   changes within a month, resulting in “higher rates of anxiety, depression, and suicidal ideation.”

11   Dkt. No. 15 at 11–12 (“I would expect many of these youth would not want to leave their home as

12   their body starts changing in ways that they find distressing. I anticipate these youth would

13   experience significant social withdrawal, difficulty attending school, and struggle to excel in

14   school. I expect there to be overall mental health crises for the vast majority of transgender and

15   gender-diverse youth.”). In fact, the severity of the impact to transgender youth’s mental health

16   from “suddenly hav[ing] their medications ripped away” leaves Physician 1 “certain” that “[t]here

17   are going to be young people who are going to take their lives if they can no longer receive this

18   care.” Dkt. No. 13 at 9.

19          It is clear that, in the absence of the temporary relief Plaintiffs request, serious and

20   irreparable harm will follow.

21          4. The Balance of Equities and Public Interest Lie in Plaintiffs’ Favor

22          Finally, the Court finds that the balance of equities and the public interest strongly weigh

23   in favor of entering a preliminary injunction. These two factors merge when the federal

24   government is a party. Nken v. Holder, 556 U.S. 418, 435 (2009). The rule of law is secured by a


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 1   strong public interest that the laws “enacted by their representatives are not imperiled by executive

 2   fiat.” E. Bay Sanctuary Covenant v. Trump, 932 F.3d 742, 779 (9th Cir. 2018) (cleaned up). Indeed,

 3   “the public interest cannot be disserved by an injunction that brings clarity to all parties and to

 4   citizens dependent on public services.” City & Cnty. of San Francisco, 897 F.3d at 1244. And

 5   constitutional violations weigh heavily in favor of an injunction. Betschart v. Oregon, 103 F.4th

 6   607, 625 (9th Cir. 2024). Any hardship suffered by Defendants pales in comparison to the

 7   irreparable harms likely to befall Plaintiffs. 15

 8                                            III. CONCLUSION

 9           For the foregoing reasons, the Court GRANTS Plaintiffs’ Motion for a Temporary

10   Restraining Order. Dkt. No. 11.

11           Dated this 16th day of February, 2025.

12
                                                                A
13                                                              Lauren King
                                                                United States District Judge
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        Because Defendants have shown no evidence of a likelihood of harm, monetary or otherwise, from the TRO, the
24   Court declines to require Plaintiffs to post a bond. Fed. R. Civ. P. 65(c).



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